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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                            *
Metzler Asset Management GmbH et al         *
                                            *
                 Plaintiff                  *
                                            *
                                            *       Civil Action No. 1:16-cv-12101-FDS
                                            *
Kingsley et al                              *
                                            *
               Defendant                    *

                                   ORDER OF DISMISSAL

                                         March , 2018

Saylor, D.J.

       Pursuant to the Court’s Order [78] filed on 03/27/2018, this case is hereby dismissed and

CLOSED.

   IT IS SO ORDERED.

                                                                   /s/ F. Dennis Saylor, IV

                                                                   United States District Judge
